UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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TUFAMERICA, INC.,

Case No. 12 CV 3529 (AJN)

Plaintiff,
V. DECLARATION OF THEODORE C.

MAX IN SUPPORT OF THE
MICHAEL DIAMOND, ADAM HOROVITZ, BEASTIE BOYS DEFENDANTS’
and ADAM YAUCH, p/k/a BEASTIE BOYS, MOTION FOR ATTORNEY’S FEES
UNIVERSAL MUSIC PUBLISHING, INC., AND COSTS

UNIVERSAL MUSIC PUBLISHING GROUP,
BROOKLYN DUST MUSIC, and CAPITOL
RECORDS, LLC,

Defendants.

 

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I, THEODORE C. MAX, hereby declare as follows:

1. I am a partner at the law firm of Sheppard, Mullin, Richter & Hampton LLP
(“Sheppard Mullin”), and counsel to defendants Michael Diamond, Adam Horovitz, the Estate of
Adam Yauch and Brooklyn Dust Music (collectively, the “Beastie Boys Defendants”) in the
above-referenced action. I am admitted to practice law in the State of New York and before this
Court. The statements made in this declaration are based upon my personal knowledge,
including upon information provided to me by colleagues or other personnel working under my
supervision in this case. I submit this declaration in support of the Beastie Boys Defendants’
motion for an award of attorney’s fees and costs from Plaintiff TufAmerica, Inc. (“TufAmerica”)
pursuant to Section 505 of the Copyright Act and Rule 54 of the Federal Rules of Civil
Procedure (the “Motion”).

2. This case was commenced by TufAmerica on May 3, 2012 alleging the

infringement of copyrights allegedly held by Robert Reed, Tony Fisher and James Avery.
Following Defendants’ motion to dismiss, TufAmerica amended its Complaint to add two more
copyright claims. After renewing their motion to dismiss, Defendants succeeded in obtaining
dismissal of four of six claims asserted in the Amended Complaint. After limited discovery,
Defendants moved for summary judgment which this Court granted on the ground that ~
TufAmerica did not have standing to bring this action. This Court held that TufAmerica’s 1999
agreements executed by Robert Reed and Tony Fisher did not convey exclusive rights to the
copyrights of Messrs. Reed, Fisher and Avery and that the 2012 agreement with Mr. Avery did
not remedy the absence of his signature on the 1999 agreements. The documents relating to this
case in support of this motion which are attached, including the 2010 letter from Kenneth
Anderson to TufAmerica’s legal counsel rebuffing its claim of infringement and stating that
there were gaps in its chain of title, make plain that Defendants were the prevailing party and that
costs, including attorney’s fees, should be awarded.
A. DOCUMENTS IN SUPPORT OF THE MOTION

3. Attached as Exhibit A is a true and accurate copy of a December 22, 1999 Master
Administration Agreement between TufAmerica and Messrs. Reed and Fisher. This agreement
was attached as Exhibit 21 to the June 9, 2014 Declaration of Nathaniel H. Benforado in support
of the UMG Defendants’ Motion for Summary Judgment (the “Summary Judgment
Declaration”) and has been redacted according to the joint request to the Court sent on June 6,
2014.

4, Attached as Exhibit B is a true and accurate copy of a December 22, 1999
Publishing Administration Agreement between TufAmerica and Messrs. Reed and Fisher. This -
agreement was attached as Exhibit 22 to the Summary Judgment Declaration and has been

redacted according to the joint request to the Court sent on June 6, 2014.
5. Attached as Exhibit C is a true and accurate copy of a January 1, 2012 agreement
between TufAmerica and Mr. Avery. This agreement was attached as Exhibit 24 to the
Summary Judgment Declaration and has been redacted according to the joint request to the Court
sent on June 6, 2014.

6 Attached as Exhibit D is a true and accurate copy of an October 11, 1984
agreement between T.T.E.D. Records, Inc. and Island Records Inc.

7. Attached as Exhibit E is a true and accurate copy of a Civil Party Search on the
PACER system reflecting all cases that TufAmerica has been a party to.

8. Attached as Exhibit F is a true and accurate copy of TufAmerica’s October 4,
2013 First Requests for Admission (Amended).

9. Attached as Exhibit G is a true and accurate copy of excerpts from the transcript
of the May 20, 2014 deposition of Aaron 8S. Fuchs.

10. Attached as Exhibit H is a true and accurate copy of excerpts from the transcript
of the May 6, 2014 deposition of William A. Scott.

11. Attached as Exhibit I is a true and accurate copy of a March 29, 2010 email from
Brian Levenson to Kenneth Anderson and Alasdair McMullan.

12. Attached as Exhibit J is a true and accurate copy of an April 2010 email chain
sent from Mr. Levenson to Messrs. Anderson and McMullan.

13. Attached as Exhibit K is a true and accurate copy of an April 21, 2010 letter from
Mr. Anderson to Mr. Levenson.

14. Attached as Exhibit L is a true and accurate copy of TufAmerica’s November 12,
2013 Objections and Responses to the Beastie Boys Defendants’ First Set of Requests for

Production.
15. Attached as Exhibit M is a true and accurate copy of a March 7, 2014 email from
Nathaniel H. Benforado to counsel for TufAmerica and the Beastie Boys Defendants producing,
among other documents, the agreement attached here as Exhibit D.

16. Attached as Exhibit N is a true and accurate copy of a March 10, 2014 letter from
myself to Kelly D. Talcott, counsel for TufAmerica.

17. Attached as Exhibit O is a true and accurate copy of a March 10, 2014 email from
Mr. Talcott to me producing, among other documents, the agreement attached here as Exhibit C.

18. | Attached as Exhibit P is a true and accurate copy of an April 11, 2014 letter from
Andrew H. Bart to Mr. Talcott.

19. Attached as Exhibit Q is a true and accurate copy of an April 14, 2014 email from
Mr. Talcott to counsel for Defendants.

20. Attached as Exhibit R is a'true and accurate copy of an April 14, 2014 letter from
Mr. Bart to Mr. Talcott.

21. Attached as Exhibit S is a true and accurate copy of an April 16, 2014 email from
Mr. Talcott to counsel for Defendants.

22. Attached as Exhibit T is a true and accurate copy of excerpts from the transcript
of the May 1, 2014 deposition of Tony W. Fisher.

23. Attached as Exhibit U is a true and accurate copy of excerpts from the transcript
of the April 30, 2014 deposition of James William Avery.

B. THE BEASTIE BOYS DEFENDANTS’ FEES AND COSTS IN THIS ACTION

24. Having prevailed on their motions to dismiss and for summary judgment, the

Beastie Boys Defendants now seek to recover $676,846.69 in attorney’s fees and costs. This

amount consists of $662,079 in fees for 1,155.4 hours of work performed by Sheppard Mullin
attorneys and litigation support staff, and $14,767.69 in costs incurred by Sheppard Mullin on
behalf of the Beastie Boys Defendants. The invoices issued by Sheppard Mullin are attached as
Exhibit V.

25. Sheppard Mullin’s contemporaneous monthly time records describe the work
performed on this matter by Sheppard Mullin attorneys, legal assistants and staff. These records
identify the hourly fees accrued in connection with this litigation and, for each entry, specify the
date, the hours expended, and the nature of the work done. In those records, each timekeeper
recorded his or her time contemporaneously in tenths of hours and provided a detailed
description of the services rendered.

26. Asis set forth in detail in Sheppard Mullin’s contemporaneous monthly time
records, Sheppard Mullin attorneys have billed the Beastie Boys Defendants for their work in
connection with this action on an hourly basis. Those time records are summarized by
individual, the rate charged, and the total fees charged in the billing summary attached as Exhibit
W. The primary attorneys who billed time on this matter are identified below, along with their
experience, hourly rates, and involvement in this matter. The work performed by others,
including paralegals and other support staff who worked under supervision by the primary
attorneys is detailed in the invoices attached as Exhibit V. The necessary costs described herein
are also set forth in detail in those contemporaneous monthly time records. All of the costs that
the Beastie Boys Defendants are seeking to recover are set forth in the costs summary attached
hereto as Exhibit X.

27. Below, I briefly summarize the necessary and reasonable services rendered by

myself and Sheppard Mullin in connection with this action, for which the Beastie Boys
Defendants are seeking an award of attorney’s fees and costs, as well as the qualifications of the
attorneys and litigation support staff that performed the services described below.

28. [have over thirty years of experience as an attorney, and am a member of the
Entertainment, Technology and Advertising and Intellectual Property Practice Groups at
Sheppard Mullin with a practice primarily focusing on intellectual property counseling and
litigation. Sheppard Mullin’s Entertainment group was named the “Media and Entertainment
Practice Group of the Year” by Law360 in 2014. I have been AV rated by Martindale Hubbell
for preeminent ethical standards and legal ability. I have litigated numerous cases as lead
counsel, including involving complicated music copyright matters such as this. A representative
list of my previous matters is attached as Exhibit Y. I was the lead trial attorney in this matter.

29. | My colleague Kenneth Anderson is an expert entertainment lawyer who has over
twenty-five years of experience in counseling clients in connection music industry transactional
and litigation matters, including sound recording and music publishing agreements, and music
copyright infringement claims and related matters. Mr. Anderson has represented the Beastie
Boys Defendants since 1985. That representation has included high-profile and landmark cases
that he supervised and actively participated in.

30. Over the course of this litigation, Sheppard Mullin associates Valentina
Shenderovich and Thomas M. Monahan assisted in the defense of this matter. Mr. Monahan
graduated from Brooklyn Law School in 2010 and has been working as a litigation associate in
New York City since that time. Mr. Monahan has represented the Beastie Boys Defendants in
other copyright litigations in this Court and in the Northern District of California. Mr. Monahan

also has pursued copyright claims on behalf of other clients: Ms. Shenderovich graduated from
Fordham Law School in 2011 and worked as a litigation associate at Sheppard Mullin from her
graduation through 2013.

31. | Mr. Anderson and I were also assisted by Valerie Alter, Tyler Baker and Edwin
Komen. These additional colleagues performed discrete tasks in connection with the defense of |
the Beastie Boys Defendants. Ms. Alter graduated from Stanford Law School in 2005. Ms.
Alter is a litigation associate who represents clients in intellectual property and media law
matters, including trademark, copyright, right of publicity, trade secret, and privacy claims.

Ms. Alter assisted in preparing the Beastie Boys Defendants’ reply in support of their summary
judgment motion in part because Mr. Monahan was engaged in a trial at that time and unable to
assist with those papers. Mr. Baker graduated from the Georgetown University Law Center in
2011. Mr. Baker is an associate in Sheppard Mullin’s Intellectual Property Practice Group and
focuses on litigating business and commercial disputes involving false advertising claims,
trademark and trade dress infringement claims, copyright infringement claims, and patent
infringement claims. Mr. Baker assisted with the Beastie Boys Defendants’ motions to dismiss,
and assisted in the preparation of the Beastie Boys Defendants’ Answer to the Amended
Complaint. Mr. Komen is a partner in Sheppard Mullin’s Washington, D.C. office whose
practice focuses on Entertainment and Intellectual Property law. Mr. Komen graduated from
George Washington Law School in 1976. Mr. Komen has extensive experience with regard to
prosecution of matters before the United States Copyright Office and the United States Patent
and Trademark Office. Mr. Komen assisted with regard to practices before the Copyti ght Office
and questions regarding the copyright chain of title.

32. During the course of this action, the work performed by myself and the other

Sheppard Mullin attorneys assigned to this matter included, but was not limited to appearing in
court, preparing the Civil Case Management Plan and Scheduling Order and subsequent orders,
preparing and drafting the Beastie Boys Defendants’ initial motion to dismiss the Complaint and
subsequent motion to dismiss the Amended Complaint, preparing and drafting initial disclosures,
preparing and drafting discovery requests and responses, preparing for and deposing four fact
witnesses, responding to TufAmerica’s discovery requests and requests for admission,
overseeing the review and production of the Beastie Boys Defendants’ document productions,
overseeing the review of TufAmerica and the UMG Defendants’ document productions, and
preparing and drafting the Beastie Boys Defendants’ summary judgment motion.

33. | Mr. Anderson and I were also assisted by paralegals and other litigation support
staff, including: Lisa S. Rodriguez, a paralegal; Brian Simpson, the Managing Clerk of the
Firm’s New York office; and Giles Mitchell, a Litigation Support Specialist who assisted with
electronic discovery in this action.

34. Ms. Rodriguez was the sole paralegal who worked on this matter. Ms. Rodriguez
received:a bachelor’s degree from Syracuse University and has twenty-five years of experience
as paralegal working for Sheppard Mullin, other prominent New York law firms, and the New
York Stock Exchange. Ms. Rodriguez also holds a paralegal certification from the Law Journal
Paralegal Institute. As reflected in the time records submitted in support of the Motion, |
Ms. Rodriguez performed critical tasks in connection with this matter. Based on my thirty years
of experience as an attorney, during which I have practiced primarily in the New York City
market, the average rate of $255.51 for Ms. Rodriguez’s time is reasonable, as it is equivalent or
. comparable to the prevailing rates charged for the time of similarly experienced paralegals at

other law firms in this market.
35. Mr. Mitchell received a bachelor’s degree from The College of Wooster and has

_ been a Litigation Support Specialist at Sheppard Mullin for four years. Before that time, Mr.
Mitchell was a paralegal at Sheppard Mullin and another prominent New York firm for over four
years. As reflected in the time records submitted in support of the Motion, Mr. Mitchell assisted
with electronic discovery in this matter, including processing data, and overseeing the Beastie
Boys Defendants’ electronic document production. Based on my thirty years of experience as an
attorney, the average rate of $206.85 for Mr. Mitchell’s time is reasonable, as it is equivalent or
comparable to the prevailing rates charged for the time of similarly experienced trial support
specialists, trial technicians and paralegals at other law firms in this market.

36. Brian Simpson was the Managing Clerk of Sheppard Mullin’s New York office
during the relevant time periods regarding this matter. As reflected in the time records submitted
in support of the motion, Mr. Simpson assisted counsel with filing and submitting documents to
the Court, and ensuring compliance with the Local and Electronic Case Filing rules. Based on
my thirty years of experience as an attorney, the average rate of $202.80 for Mr. Simpson’s time
is reasonable, as it is equivalent or comparable to the prevailing rates charged for the time of
similarly experienced managing clerks.

37. The Beastie Boys Defendants seek to recover fees and costs from TufAmerica for
1,155.4 hours of work by Sheppard Mullin attorneys and litigation support staff, as set forth in
the billing summary. The hours accrued were both necessary and reasonable in order to fully
defend the Beastie Boys Defendants against TufAmerica’s claims in this action. The hours
worked produced a significant victory for the Beastie Boys Defendants, who secured dismissal of

all of TufAmerica’s claims and judgment in the Beastie Boys Defendants’ favor.
38. The billing rates for Sheppard Mullin attorneys and litigation support staff who
worked on this matter are set forth in the billing summary. Based on my thirty years of
experience in this field and market, these rates are reasonable, as they are equivalent or
comparable to the prevailing rates charged by similarly experienced attorneys at other law firms
practicing in the Southern District of New York.

39. The reasonableness of the billing rates for Sheppard Mullin attorneys is further
supported by recent surveys of the prevailing market rates for comparable legal services.
Attached as Exhibit Z is a true and accurate copy of the 2014 National Law Journal Billing
Survey, published by American Lawyer Media (the “Survey”). According to the Survey, the
average hourly rate for a partner at a New York-based law firm is $883.18 and the national
average is $613.05. The average hourly rate for an associate at a New York-based law firm is
$531.21 and the national average is $376.66. These averages were calculated by sorting and
averaging the data contained in the Survey using the Microsoft Excel program, which is the
format in which the Survey was provided to the Beastie Boys Defendants by American Lawyer
Media.

40. Sheppard Mullin also billed the Beastie Boys Defendants at a reduced rate to
offset the significant financial burden of defending against TufAmerica’s claims. The Beastie
Boys Defendants were charged an hourly rate of $675 for my time and Mr. Anderson’s time.
During the time we billed to this case, my scheduled hourly rate was between $680 and $785,
and Mr. Anderson’s scheduled hourly rate was between $695 and $840. The Beastie Boys
Defendants also were provided with courtesy discounts in the amount of $10,005.00.

41. Asset forth in the costs summary attached as Exhibit X, the Beastie Boys

Defendants are also seeking to recover $14,767.69 in costs incurred by Sheppard Mullin as set

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forth in the costs summary. The costs and expenses include deposition costs, postage and
delivery services, duplicating and reproduction, supplies, travel expenses and electronic research
costs.

42. These costs are reasonable because they are not associated with routine office
overhead, but rather are identifiable out-of-pocket expenses incurred by attorneys and ordinarily
charged to their clients. Moreover, these are all costs that Sheppard Mullin routinely charges to
its clients and for which the Beastie Boys Defendants agreed to pay for.

43. These costs include costs associated with legal research by attorneys on Westlaw,
Lexis and PACER. These charges should be reimbursed by TufAmerica, because Sheppard
Mullin passes these expenses on to clients as separately chargeable disbursements.

I declare upon penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed: Dated: April 9, 2014

New York, New York (Ll j

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